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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


 BLACK LOVE RESISTS IN THE RUST, et al.,
 individually and on behalf of a class of all others
 similarly situated,

                        Plaintiffs,
                                                             No. 1:18-cv-00719-CCR
         v.

 CITY OF BUFFALO, N.Y., et al.,

                        Defendants.


        PLEASE TAKE NOTICE that pursuant to Rule 83.1(d) of the Local Rules of the United

States Court for the Western District of New York, Plaintiffs, by and through their undersigned

counsel, hereby move this Court for an Order permitting Jordan S. Joachim to be admitted pro hac

vice as counsel for Plaintiffs Black Love Resists in the Rust, et al. in the above-captioned action.

       PLEASE TAKE FURTHER NOTICE that the forms required by Local Rule 83.1(d),

including the Admission Petition Form, Affidavit of Chinyere Ezie, Attorney’s Oath, Civility

Principles and Guidelines Oath, and Attorney Database & ECF Registration Form, are annexed

hereto as Exhibits.

       PLEASE TAKE FURTHER NOTICE that Jordan S. Joachim requests that all notices

given or required to be given in this case and all papers served or required to be served in this case

be given to and served upon Jordan S. Joachim, The New York Times Building, 620 Eighth

Avenue, New York, NY 10018.
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Dated: New York, New York         Respectfully submitted,
       December 7, 2020

                                  /s/ Chinyere Ezie
                                  Chinyere Ezie
                                  CENTER FOR CONSTITUTIONAL RIGHTS
                                  666 Broadway, 7th Floor
                                  New York, NY 10012
                                  212-614-6475
                                  CEzie@ccrjustice.org

                                  Counsel for Plaintiffs




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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 7, 2020, the foregoing document was filed with the Clerk

of the Court and served electronically in accordance with the Federal Rules of Civil Procedure,

and/or the Western District’s Local Rules, and/or the Western District’s Case Filing Rules &

Instructions upon all counsel registered through the ECF System.


                                                    /s/ Chinyere Ezie
